      Case 4:20-cv-05640-YGR         Document 1053    Filed 11/21/24    Page 1 of 20




1     DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
        dswanson@gibsondunn.com                         mark.perry@weil.com
2     GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
3     Los Angeles, CA 90071                             joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
4     Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
5     CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
6        crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
7     1050 Connecticut Avenue, N.W.
      Washington, DC 20036
8     Telephone: 202.955.8500
      Facsimile: 202.467.0539
9
      JULIAN W. KLEINBRODT, SBN 302085
10        jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14    Attorneys for Defendant APPLE INC.
15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                          OAKLAND DIVISION
18
      EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR
19
           Plaintiff, Counter-defendant              APPLE INC.’S REPLY IN SUPPORT OF
20    v.                                             MOTION FOR RELIEF FROM THE
                                                     JUDGMENT UNDER FEDERAL RULE
21    APPLE INC.,                                    60(B)
22
           Defendant, Counterclaimant                The Honorable Yvonne Gonzalez Rogers
23

24

25

26
27

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                            CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
       Case 4:20-cv-05640-YGR                           Document 1053                   Filed 11/21/24               Page 2 of 20




1                                                              TABLE OF CONTENTS

2                                                                                                                                                         Page

3    Introduction ...............................................................................................................................................1
     Argument ..................................................................................................................................................3
4
        I.      Beverage makes prospective application of the Injunction inequitable........................................3
5
                A.      Beverage clarified that the Injunction rests on the wrong legal analysis .............................4
6               B.      The Epic Injunction conflicts with the Beverage judgment applying the same state
                        statute to the same facts and the same defendant .................................................................7
7
                C.      Apple’s position here is consistent with its position in Beverage ........................................9
8
        II.     Murthy makes prospective application of the nationwide portion of the
9               Injunction even more inequitable................................................................................................11

10      III. The equities weigh heavily in favor of relief ..............................................................................13
     Conclusion ..............................................................................................................................................15
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                                       i                                CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
       Case 4:20-cv-05640-YGR                         Document 1053                 Filed 11/21/24              Page 3 of 20




1                                                        TABLE OF AUTHORITIES

2    Cases                                                                                                                                     Page(s)
3    AGK Sierra De Montserrat, L.P. v. Comerica Bank,
4      109 F.4th 1132 (9th Cir. 2024) ................................................................................................... 1, 3, 6

5    Agostini v. Felton,
        521 U.S. 203 (1997) ...................................................................................................................... 5, 13
6
     Artec Grp. Inc. v. Klimov,
7       No. 15-CV-03449, 2017 WL 5625934 (N.D. Cal. Nov. 22, 2017) .................................................... 5
8    Batts v. Tow–Motor Forklift Co.,
        66 F.3d 743 (5th Cir. 1995) ................................................................................................................ 8
9

10   Bellevue Manor Assocs. v. United States,
         165 F.3d 1249 (9th Cir. 1999) ............................................................................................................ 5
11
     Beverage v. Apple, Inc.,
12      101 Cal. App. 5th 736 (2024) .................................................................................................... passim
13   Blue Diamond Coal Co. v. Trs. of UMWA Combined Ben. Fund,
        249 F.3d 519 (6th Cir. 2001) .............................................................................................................. 9
14

15   California ex rel. Becerra v. EPA,
        978 F.3d 708 (9th Cir. 2020) .............................................................................................................. 5
16
     Carman v. Alvord,
17      31 Cal. 3d 318 (1982) ......................................................................................................................... 8

18   In re CCIV/Lucid Motors Sec. Litig.,
         No. 21-CV-09323-YGR, 2023 WL 4543581 (N.D. Cal. June 29, 2023) ........................................... 5
19
     Celestine v. Petroleos De Venezuela SA,
20
        108 F. App’x 180 (5th Cir. 2004) ....................................................................................................... 9
21
     Elmendorf v. Taylor,
22      23 U.S. 152 (1825) .............................................................................................................................. 8

23   Eon Corp. IP Holdings LLC v. Aruba Networks Inc.,
        62 F. Supp. 3d 942 (N.D. Cal. 2014) .................................................................................................. 9
24
     ePlus Inc. v. Lawson Software, Inc.,
25      789 F.3d 1349 (Fed. Cir. 2015)......................................................................................................... 15
26
     Flores v. Garland,
27      No. CV 85-4544-DMG, 2024 WL 3467715 (C.D. Cal. June 28, 2024) ........................................... 14

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                                    i                              CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
       Case 4:20-cv-05640-YGR                        Document 1053                  Filed 11/21/24             Page 4 of 20




1    Forest Grove Sch. Dist. v. T.A.,
        638 F.3d 1234 (9th Cir. 2011) .......................................................................................................... 13
2
     Griffith v. Dep’t of Pub. Works,
3       141 Cal. App. 2d 376 (1956) .............................................................................................................. 8
4
     Guaranty Trust Co. v. York,
5       326 U.S. 99 (1945) ...................................................................................................................... 2, 7, 8

6    Hamilton v. State Farm Fire & Cas. Co.,
       270 F.3d 778 (9th Cir. 2001) .............................................................................................................. 9
7
     Hanna v. Plumer,
8       380 U.S. 460 (1965) ............................................................................................................................ 7
9
     Horne v. Flores,
10      557 U.S. 433 (2009) ............................................................................................................ 3, 6, 11, 14

11   Ladner v. Siegel,
        298 Pa. 487 (1930) ............................................................................................................................ 14
12
     Lowry Dev., L.L.C. v. Groves & Assocs. Ins., Inc.,
13      690 F.3d 382 (5th Cir. 2012) ............................................................................................................ 14
14   New Hampshire v. Maine,
15      532 U.S. 742 (2001) ............................................................................................................................ 9

16   Motorola Credit Corp. v. Uzan,
        561 F.3d 123 (2d Cir. 2009).............................................................................................................. 15
17
     Murthy v. Missouri,
18     144 S. Ct. 1972 (2024) ............................................................................................................... passim
19   N.Y. State Ass’n for Retarded Child. Inc. v. Carey,
        706 F.2d 956 (2d Cir. 1983)...................................................................................................... 2, 6, 14
20

21   Nelson v. Collins,
        659 F.2d 420 (4th Cir. 1981) ............................................................................................................ 14
22
     Pennsylvania v. Wheeling & Belmont Bridge Co.,
23      59 U.S. 421 (1855) ...................................................................................................................... 14, 15
24   Pierce v. Cook & Co., Inc.,
        518 F.2d 720 (10th Cir. 1975) ............................................................................................................ 9
25
     Planned Parenthood Federation of America v. Center for Medical Progress,
26
        704 F. Supp. 3d 1027 (N.D. Cal. 2023) ............................................................................................ 14
27
     Protectoseal Co. v. Barancik,
28      23 F.3d 1184 (7th Cir. 1994) .......................................................................................................... 2, 6
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                                   ii                             CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
       Case 4:20-cv-05640-YGR                          Document 1053                   Filed 11/21/24               Page 5 of 20




1    R.R. Comm’n of Tex. v. Pullman Co.,
        312 U.S. 496 (1941) ............................................................................................................................ 8
2
     Richardson v. United States,
3       841 F.2d 993 (9th Cir. 1988) .............................................................................................................. 6
4
     Ritter v. Smith,
5        811 F.2d 1398 (11th Cir. 1987) .......................................................................................................... 9

6    Rufo v. Inmates of Suffolk Cnty. Jail,
        502 U.S. 367 (1992) ............................................................................................................................ 6
7
     Ryman v. Sears, Roebuck & Co.,
8       505 F.3d 993 (9th Cir. 2007) .............................................................................................................. 4
9
     Salazar v. Buono,
10      559 U.S. 700 (2010) ...................................................................................................................... 5, 14

11   Sweeton v. Brown,
        27 F.3d 1162 (6th Cir. 1994) .............................................................................................................. 5
12
     United States v. Harris,
13      531 F.3d 507 (7th Cir. 2008) ........................................................................................................ 5, 11
14   United States v. Swift Co.,
15      286 U.S. 106 (1932) .......................................................................................................................... 14

16   In re Terrorist Attacks on Sept. 11, 2001,
         741 F.3d 353 (2d Cir. 2013)................................................................................................................ 9
17
     Thai-Lao Lignite (Thai.) Co. v. Gov’t of Lao People’s Democratic Republic,
18      864 F.3d 172 (2d Cir. 2017).............................................................................................................. 15
19   United States v. United Mine Workers,
        330 U.S. 258 (1947) ...................................................................................................................... 3, 15
20

21   Venoco, LLC v. Plains Pipeline, L.P.,
        No. 21-55193, 2022 WL 1090947 (9th Cir. Apr. 12, 2022) ........................................................... 2, 8
22
     Wal-Mart Stores, Inc. v. Dukes,
23      564 U.S. 338 (2011) .......................................................................................................................... 13
24   Werner v. Carbo,
        731 F.2d 204 (4th Cir. 1984) ............................................................................................................ 14
25
     Other Authorities
26
27   Fed. R. Civ. P. 60(b)(5).................................................................................................................... passim

28   Sup. Ct. R. 10 .......................................................................................................................................... 11
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                                      iii                              CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR           Document 1053         Filed 11/21/24      Page 6 of 20




1                                              INTRODUCTION

2           The intervening decisions in Beverage v. Apple, Inc., 101 Cal. App. 5th 736 (2024) and Murthy

3    v. Missouri, 144 S. Ct. 1972 (2024) make “applying [the Injunction] prospectively … no longer

4    equitable.” Fed. R. Civ. P. 60(b)(5). The California courts in Beverage applied the same state statute to

5    the same defendant on the same facts and not only reached the opposite result, but also specifically

6    identified the legal error the federal courts made in this case. In Murthy, the Supreme Court considered

7    a similar theory of standing and rejected it notwithstanding the more fulsome evidentiary record there.

8    Following Beverage and Murthy, the Injunction causes serious inequities—including federalism, comity,

9    Article III, and Rule 23 problems—that warrant prospective relief.

10          I.    Beverage significantly changed the law applicable in this proceeding by clarifying that the

11   Epic courts applied an incomplete legal analysis to reach a bottom-line that conflicts with the Beverage

12   judgment on the exact same facts. Rather than confront that reality, Epic devotes much of its brief to

13   attacking arguments Apple is not making. Contrary to Epic’s assertions, Apple agrees that Chavez is

14   longstanding law. But Beverage expressly broke from the Epic decisions’ application of Chavez, because

15   the federal courts “mentioned Chavez only in passing, and neither court engaged a rigorous analysis of

16   the Colgate doctrine and its effect on UCL claims.” Beverage, 101 Cal. App. 5th at 756 n.6. It is rare

17   that a state court so directly criticizes a federal court’s erroneous application of state law to the same

18   facts. Under Erie, Beverage is the correct explication of state law, superseding the Ninth Circuit’s prior

19   decision. See AGK Sierra De Montserrat, L.P. v. Comerica Bank, 109 F.4th 1132, 1136 (9th Cir. 2024).

20   And the result of Beverage is a stark conflict between judgments: The Injunction prohibits conduct under

21   the UCL that the state appellate court affirmed as consistent with the UCL. The Injunction thus conflicts

22   with a state-court judgment involving the exact same conduct by the exact same defendant under the

23   exact same state statute. Beverage is thus a significant change that warrants prospective relief.

24          Epic has no sound response. Notably, Epic fails to cite a single case in which Rule 60(b)(5) relief

25   was denied where a subsequent development either (1) established that an injunction rested on the wrong

26   legal analysis, or (2) created a conflict between judgments involving the same law, same defendant, and

27   same facts. Here, Apple has both. It is well-settled that such a pointed conflict between judgments is

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR              1                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR           Document 1053         Filed 11/21/24      Page 7 of 20




1    inequitable—and indeed would satisfy the far more demanding standard for relief from a retrospective

2    judgment. E.g., Venoco, LLC v. Plains Pipeline, L.P., No. 21-55193, 2022 WL 1090947, at *3 (9th Cir.

3    Apr. 12, 2022). One of Erie’s aims is to prevent the inequity that arises if “the outcome of the litigation

4    in the federal court” on state law is not “substantially the same” as in state court. Guaranty Trust Co. v.

5    York, 326 U.S. 99, 109 (1945). Here, the outcomes are polar opposites. And contrary to Epic’s assertions,

6    Rule 60(b)(5) is available where an intervening development establishes that an injunction rests on an

7    incorrect legal analysis. E.g., N.Y. State Ass’n for Retarded Child. Inc. v. Carey, 706 F.2d 956, 971 (2d

8    Cir. 1983) (Friendly, J.); Protectoseal Co. v. Barancik, 23 F.3d 1184 (7th Cir. 1994). Courts then apply

9    the correct legal standard and vacate the injunction if the plaintiff cannot satisfy it. Epic cannot.

10   Tellingly, Epic fails to respond to Apple’s showing that the Beverage trial court correctly performed the

11   “rigorous analysis” of Colgate the Beverage appellate decision requires. 101 Cal. App. 5th at 756 n.6.

12          Epic invokes judicial estoppel, but omits Apple’s statements that show its position in both courts

13   is fully consistent. In Beverage, Apple emphasized that the Ninth Circuit’s interpretation of California

14   law does not bind state courts and that Beverage had broken from “the federal Epic Games decisions”

15   because of the lack of a “rigorous” Colgate analysis in the Epic decisions. Byars Decl., Ex. A (“Beverage

16   Opp.”), at 12. Apple is advancing the same argument here.

17          II.   On Murthy, Epic asserts that the Supreme Court did not “set a new and elevated” standard

18   for Article III standing. Opp. 20. Apple agrees. See Mot. 12–15. Apple’s actual argument is that Murthy

19   is a significant development because it clarifies how to apply existing standing doctrine where, as here,

20   a party seeks an injunction based on the conduct of independent actors. Epic cannot satisfy Murthy’s

21   demand for “specific causation findings” and “specific facts” to connect all the links in such a causal

22   chain. Murthy v. Missouri, 144 S. Ct. 1972, 1987, 1989–96 & n.7 (2024).

23          Epic asserts “the Ninth Circuit’s findings” suffice. Opp. 22. But the Ninth Circuit is an appellate

24   court that cannot and did not make factual findings. Murthy requires findings “in the record”—that is,

25   made by the district court. 144 S. Ct. at 1987. Epic pointedly fails to cite any specific findings by this

26   Court that, absent the enjoined anti-steering rules, developers would imminently steer users away from
27   Apple’s platform and away from the developers’ own websites and instead to the Epic Games Store to

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR              2                      CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
          Case 4:20-cv-05640-YGR        Document 1053         Filed 11/21/24      Page 8 of 20




1    purchase in-app iOS digital content. There are no such findings. The Epic Games Store does not even

2    distribute iOS apps or directly sell in-app content. Rule 52 Order 15. Nor could the Court have made

3    such a finding. Epic called several developers to testify at trial about the anti-steering rules, but none

4    testified that they would steer users to the Epic Games Store if those rules were enjoined. Murthy thus

5    clarifies that there are fatal missing links in Epic’s standing to seek a nationwide injunction.

6             III. Epic has no meaningful answer on the equities. The inconsistent outcomes in state and

7    federal court flout Erie and federal courts’ limited role in diversity cases. Epic cannot deny that the

8    nationwide Injunction gives every developer relief under the UCL that they would be unable to secure

9    in state courts applying the same state law, since if any developer were to file a new UCL challenge in

10   any court that developer would lose under Beverage. The Injunction thus bars conduct nationwide based

11   on an incorrect rule of state law and effectively deprives the Beverage decisions of preclusive or

12   precedential force. And Epic does not dispute that Apple has vigorously litigated and protected its rights

13   throughout this proceeding. That is more than enough to satisfy Rule 60(b)(5).

14            Epic’s “unclean hands” argument is baseless. The compliance proceedings are ongoing. And

15   regardless, courts routinely grant Rule 60(b)(5) relief when there are ongoing enforcement proceedings

16   and indeed even after entry of contempt sanctions. See, e.g, Horne v. Flores, 557 U.S. 433 (2009).

17            At bottom, many of Epic’s arguments amount to little more than rhetorical attacks on Apple and

18   its motives. That hyperbole has no place in the analysis. The only question before the Court is whether

19   intervening developments make “applying [the Injunction] prospectively … no longer equitable.” Fed.

20   R. Civ. P. 60(b)(5). Epic’s complaint about Apple’s purported efforts to avoid enforcement overlooks

21   that “the right to remedial relief falls with an injunction which events prove was erroneously issued.”

22   United States v. United Mine Workers, 330 U.S. 258, 295 (1947). Under well-settled equitable principles,

23   prospective application of the Injunction is now inequitable. The Injunction should be vacated or, at a

24   minimum, narrowed to apply only to Epic and its corporate affiliates.

25                                                 ARGUMENT

26   I.       BEVERAGE MAKES PROSPECTIVE APPLICATION OF THE INJUNCTION
              INEQUITABLE
27
              “Circuit precedent interpreting state law … is only binding in the absence of any subsequent
28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR               3                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR            Document 1053        Filed 11/21/24       Page 9 of 20




1    indication from the California courts that [the Ninth Circuit’s] interpretation was incorrect.” AGK Sierra,

2    109 F.4th at 1136. The California Court of Appeal has provided “subsequent indication” that it would

3    not follow the federal courts’ application of Chavez because it was incomplete, and the California

4    Supreme Court denied review. This Court now must apply the correct legal analysis, under which Apple

5    prevails—as the Beverage trial court persuasively explained. Further, Beverage affirmed a judgment that

6    contradicts this Court’s Injunction on the same facts, against the same defendant, and involving the same

7    California statute. Epic cites no case in which prospective relief was denied when a subsequent

8    development established that the legal analysis was incorrect, or when state and federal judgments

9    conflicted so sharply. Here, both circumstances are present. Each would make applying the Injunction

10   prospectively no longer equitable. Together, the inequity is inescapable.

11          A.    Beverage clarified that the Injunction rests on the wrong legal analysis

12          Epic asserts that Beverage “took no issue with the Ninth Circuit’s application of California law,”
13   quoting Beverage’s statement that it did “‘not find these decisions [in Epic] persuasive on the precise
14   issue presented by [the] appeal.’” Opp. 1, 17 (quoting Beverage, 101 Cal. App. 5th at 756 n.6). But Epic
15   omits the prior sentence, which explains why Beverage found the Epic decisions unpersuasive: “The
16   Ninth Circuit and the district court mentioned Chavez only in passing, and neither court engaged a
17   rigorous analysis of the Colgate doctrine and its effect on UCL claims.” Beverage, 101 Cal. App. 5th at
18   756 n.6. Beverage thus plainly did take “issue” with the federal courts’ application of the UCL: it found
19   their analysis to be incomplete.
20          Beverage further clarified why the UCL requires that missing analysis, explaining that the
21   California legislature in enacting the Cartwright Act affirmatively decided to protect unilateral conduct.
22   See id. at 749–50. Beverage therefore clarifies that Apple’s anti-steering rules cannot be deemed
23   unlawful or unfair under the UCL without first determining whether they are unilateral conduct. The
24   California Supreme Court denied a petition for review, so this Court is bound by Beverage, the now-
25   established law in California. See Ryman v. Sears, Roebuck & Co., 505 F.3d 993, 995 (9th Cir. 2007).
26          In response, Epic attacks a strawman, arguing that Beverage “declined to change settled
27   California law” because it followed the longstanding Chavez doctrine. Opp. 14–15. Apple agrees that
28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR              4                       CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR            Document 1053          Filed 11/21/24      Page 10 of 20




1    Chavez was and remains settled law. But Beverage is still a significant development because it clarifies

2    how to apply Chavez to the exact facts of this case—and in particular clarifies that Apple’s anti-steering

3    rules cannot be enjoined absent a “rigorous” Colgate analysis. That is not “illusory” or a “narrow change

4    in peripheral law.” Opp. 15, 24 (citation omitted). It is a controlling change from a California appellate

5    court regarding application of the same California statute to the precise circumstances of this case.

6            Epic’s description of the legal standard is also plainly wrong. Epic contends that Rule 60(b)(5)

7    “requires” the change to “‘permit what was previously forbidden.’” Opp. 14 (quoting California ex rel.

8    Becerra v. EPA, 978 F.3d 708, 713–14 (9th Cir. 2020)). But the word “requires” is Epic’s invention:

9    EPA holds that it “is an abuse of discretion” to deny relief where a change permits what was previously

10   forbidden. EPA, 978 F.3d at 713. It does not hold that such a change is required.

11           Instead, Rule 60(b)(5) requires a change that makes “applying [a judgment] prospectively

12   inequitable.” That can occur even when the legal framework is “largely unchanged.” Agostini v. Felton,

13   521 U.S. 203, 218, 222–23 (1997). The standard is “pliable,” EPA, 978 F.3d at 713, taking “all the

14   circumstances into account,” Bellevue Manor Assocs. v. United States, 165 F.3d 1249, 1256 (9th Cir.

15   1999). Apple cited a host of cases confirming that “clarifications” and “continuing trends” are

16   sufficient—none of which Epic addressed. E.g., Bellevue, 165 F.3d at 1256; United States v. Harris, 531

17   F.3d 507, 513 (7th Cir. 2008) (“change in, or clarification”); Sweeton v. Brown, 27 F.3d 1162, 1164, 1166–

18   67 (6th Cir. 1994) (“changing or clarifying”); Artec Grp. Inc. v. Klimov, No. 15-CV-03449, 2017 WL

19   5625934, at *3 (N.D. Cal. Nov. 22, 2017) (“Nothing requires that there be a sea change in the law in order

20   to justify reconsideration.”). Epic’s failure to respond to that authority effectively concedes this point. See

21   In re CCIV/Lucid Motors Sec. Litig., No. 21-CV-09323-YGR, 2023 WL 4543581, at *1 n.3 (N.D. Cal.

22   June 29, 2023). “The relevant question is whether an ongoing exercise of the court’s equitable authority

23   is supported by the prior showing of illegality, judged against the claim that changed circumstances have

24   rendered prospective relief inappropriate.” Salazar v. Buono, 559 U.S. 700, 718 (2010) (plurality op.).

25           Critically, courts have consistently held that it is an abuse of discretion to deny Rule 60(b)(5)

26   relief where, as here, an intervening development establishes that an injunction rests on the wrong legal
27   analysis. For example, in a leading case, the Second Circuit held that it was an abuse of discretion to

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                5                      CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
         Case 4:20-cv-05640-YGR         Document 1053          Filed 11/21/24      Page 11 of 20




1    deny relief when “[w]e now know, as a result of [an intervening decision], that [the prior analysis] was

2    not the appropriate inquiry.” Carey, 706 F.2d at 971 (Friendly, J.); see Rufo v. Inmates of Suffolk Cnty.

3    Jail, 502 U.S. 367, 381–82 (1992) (adopting Judge Friendly’s rule from Carey). The Second Circuit

4    reversed the denial of the Rule 60(b)(5) motion and remanded for the district court to perform the correct

5    inquiry. Carey, 706 F.2d at 971–72; see also Horne v. Flores, 557 U.S. 433, 472 (2009) (remanding for

6    factfinding under the correct analysis to determine whether a statewide injunction must be narrowed);

7    Barancik, 23 F.3d at 1187 (Rule 60(b)(5) relief required when an intervening change altered part of the

8    legal analysis and a hearing established the defendant prevailed under the correct analysis).1

9             As in Carey, “[w]e now know, as a result of [Beverage], that [the prior analysis] was not the

10   appropriate inquiry.” 706 F.2d at 971. Before Apple’s anti-steering rules can be condemned under the

11   UCL, a court must address Chavez more than “in passing” and must undertake a “rigorous” Colgate

12   analysis to determine whether those rules are protected unilateral conduct beyond the scope of

13   California’s UCL. As Beverage itself recognizes, there was no such analysis here.

14            In any event, even if Rule 60(b)(5) were limited to changes that establish that the enjoined

15   conduct is lawful, the combination of the Beverage appellate decision plus the trial court decision would

16   satisfy that standard. The Beverage appellate court clarified that a “rigorous” Colgate analysis must be

17   performed before condemning Apple’s anti-steering rules. That decision displaces law of the case, e.g.,

18   AGK Sierra, 109 F.4th at 1136; Richardson v. United States, 841 F.2d 993, 1000 (9th Cir. 1988), so this

19   Court now must perform that analysis for the first time, e.g., Carey, 706 F.2d at 971.2 And Epic provides

20   no sound basis to reject the Beverage trial court’s Colgate analysis. The trial court decision is not binding,

21   but was not appealed so is “presumed correct.” Beverage, 101 Cal. App. 5th at 752. And it persuasively

22   explains, on these exact facts, that Apple’s rules are protected unilateral conduct.

23            Epic asserts that the Ninth Circuit’s determination that the “DPLAs constitute bilateral contracts

24   subject to the Section 1 of the Sherman Act” is a sufficient substitute. Opp. 18. But Beverage rejected

25

26   1
       Horne, Carey, and Barancik also show that, contrary to Epic’s assertions, Opp. 18, Rule 60(b) allows
     for further factual development if needed to apply the correct analysis.
27   2
       Contrary to Epic’s assertion, Opp. 15–16, Apple does not rely on the state trial court’s decision standing
     alone. It is an intervening development, but not the only one and it is the appellate decision that overrides
28   law of the case and requires the Colgate analysis.
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                6                      CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR            Document 1053          Filed 11/21/24      Page 12 of 20




1    that view when it distinguished the Ninth Circuit’s opinion on that very ground. See 101 Cal. App. 5th

2    at 756 n.6. As Apple has explained, the conclusion that the DPLA is a “contract” within the meaning of

3    Section 1 sheds no light on the application of California’s Cartwright Act or the UCL to Apple’s

4    Guidelines. The Ninth Circuit did not address whether the Guidelines are unilateral conduct under

5    Colgate (as adopted and applied by the California courts), much less whether they are condemnable

6    under the narrower Cartwright Act. See Mot. 10. Epic did not even appeal the Cartwright Act judgment.

7           Nowhere does Epic attempt a rigorous Colgate analysis. Epic entirely fails to rebut that Apple

8    unilaterally announced, set, and enforced its anti-steering Guidelines without coercion. See Mot. 10–11.

9    As the Beverage trial court explained, Apple’s Guidelines are protected under Colgate as “open,

10   unilateral conduct by Apple, essentially a ‘take it or leave it’ deal—not threats, boycotts or other such

11   ‘affirmative action’ to coerce developers into a conspiracy with Apple against others.” Beverage Second

12   Trial Court Order 7. Just as Colgate allows, after Epic flouted Apple’s Guidelines, Apple responded by

13   unilaterally removing Fortnite from the App Store. Beverage First Trial Court Order 3. Those findings

14   align with both this Court’s Rule 52 Order and the Ninth Circuit opinion. See Mot. 10–11. Epic thus

15   provides no sound basis to reject the trial court’s Colgate analysis: It is presumptively correct,

16   persuasive, and directly on point, and following that decision would avoid a stark federal-state conflict.

17          B.    The Epic Injunction conflicts with the Beverage judgment applying the same state
                  statute to the same facts and the same defendant
18
            In addition to the legal error described above, the Injunction is even more inequitable because its
19
     outcome conflicts with the Beverage judgment the Court of Appeal affirmed. Both cases involve the
20
     same defendant, the same facts, and the same California statute. Epic makes the incredible claim that
21
     “Beverage did not address the lawfulness of Apple’s anti-steering provisions under the UCL.” Opp. 24.
22
     That is false. Beverage’s conclusion is “that the trial court correctly sustained Apple’s demurrer because
23
     Plaintiffs did not state a cause of action against Apple for violation of the ‘unfair’ prong of the UCL.”
24
     101 Cal. App. at 756. The Injunction reaches the exact opposite conclusion on the very same facts.
25
            One of the “twin aims” of Erie is to avoid such “inequitable administration of the laws.” Hanna
26
     v. Plumer, 380 U.S. 460, 468 (1965). “The nub of the policy that underlies Erie … is that for the same
27
     transaction the accident of a suit by a non-resident litigant in a federal court instead of in a State court a
28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR                7                      CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
         Case 4:20-cv-05640-YGR        Document 1053          Filed 11/21/24     Page 13 of 20




1    block away should not lead to a substantially different result.” Guaranty Trust, 326 U.S. at 109. “Few

2    public interests have a higher claim upon the discretion of a federal chancellor than the avoidance of

3    needless friction with state policies,” including when that implicates “the final authority of a state court

4    to interpret doubtful regulatory laws of the state.” R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496,

5    500 (1941). Indeed, because this case involves a state statute (not general common law), those comity

6    concerns are at their zenith and date back to the Founding. E.g., Elmendorf v. Taylor, 23 U.S. 152, 159–

7    60 (1825) (Marshall, J.) (“We receive the construction given by the Courts of the nation as the true sense

8    of the law, and feel ourselves no more at liberty to depart from that construction, than to depart from the

9    words of the statute.”). The outcomes in Beverage and this Court are polar opposites. Fundamental

10   principles of federalism and fairness therefore require vacatur.3

11            Contrary to Epic’s assertion, see Opp. 14–15, Apple moved under Rule 60(b)(5), not 60(b)(6).

12   Apple’s point is that courts have long recognized that a conflict between state and federal judgments is

13   so grossly inequitable to warrant relief even from a retrospective money judgment under Rule 60(b)(6)—

14   which sets a far higher bar than Rule 60(b)(5)’s flexible standard for prospective injunctions. Even under

15   Rule 60(b)(6)’s strict standard, courts have repeatedly held that relief is warranted when an intervening

16   state court judgment applies the same “doctrine to the same defendant on the basis of virtually identical

17   facts.” E.g., Venoco, LLC v. Plains Pipeline, L.P., No. 21-55193, 2022 WL 1090947, at *3 (9th Cir. Apr.

18   12, 2022). Rule 60(b)(5)’s lower standard is a fortiori satisfied by similarly inconsistent outcomes.

19            Epic asserts that maintaining the Venoco judgment would have involved “[r]ejecting the

20   California Court of Appeal’s interpretation of its own state law doctrine.” Opp. 25 (quoting 2022 WL

21   1090974, at *3). But that is also true here: The Injunction cannot be maintained without rejecting the

22   UCL holding of Beverage. In any event, the Venoco line of cases do not ask whether the precise legal

23   issue decided in two appeals is exactly the same. Grounded in Erie’s focus on “the outcome of the

24   litigation,” Guaranty Trust, 326 U.S. at 109, courts ask whether “two cases arising out of the same

25   transaction result in conflicting judgments.” Batts v. Tow–Motor Forklift Co., 66 F.3d 743, 748 n. 6 (5th

26
     3
       Contrary to Epic’s claim, Opp. 16 n.4, a general demurrer resolves “the legal merits of the action on
27   assumed facts.” Carman v. Alvord, 31 Cal. 3d 318, 324 (1982). The case Epic cites holds only that courts
     reviewing a demurrer do not resolve factual disputes or reach beyond the pleadings. See Griffith v. Dep’t
28   of Pub. Works, 141 Cal. App. 2d 376, 381 (1956).
     APPLE’S REPLY IN SUPPORT OF MOTION FOR               8                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
         Case 4:20-cv-05640-YGR        Document 1053          Filed 11/21/24      Page 14 of 20




1    Cir. 1995); see Venoco, 2022 WL 1090947, at *2 (“direct relationship between the original judgment

2    and the change in law”); Pierce v. Cook & Co., Inc., 518 F.2d 720, 723 (10th Cir. 1975) (en banc) (“The

3    outcome determination principle mandated by Erie v. Tompkins has been violated.”).4

4             Epic has cited—and Apple has located—no case in which prospective relief under Rule 60(b)(5)

5    has been denied where there is such a conflict between state and federal judgments involving the same

6    defendant, facts, and state law. That conflict alone makes continued application of the Injunction

7    inequitable. When combined with the Beverage Court of Appeal decision expressly finding the Epic

8    decisions unpersuasive because of the incomplete Chavez analysis, the inequity is even sharper.

9             C.   Apple’s position here is consistent with its position in Beverage

10            Faced with on-point, intervening authority that makes the Injunction inequitable, Epic resorts to
11   mischaracterizing Apple’s arguments to manufacture a claim for judicial estoppel. See Opp. 18. That
12   contention fails. Epic has the burden to establish that Apple’s later position is “clearly inconsistent” with
13   its earlier position and that “the court relied on, or ‘accepted,’ the … previous inconsistent position.”
14   New Hampshire v. Maine, 532 U.S. 742, 750 (2001); Hamilton v. State Farm Fire & Cas. Co., 270 F.3d
15   778, 783 (9th Cir. 2001). Epic has come nowhere close to meeting that “high bar.” Eon Corp. IP Holdings
16   LLC v. Aruba Networks Inc., 62 F. Supp. 3d 942, 956 (N.D. Cal. 2014).
17            First, Epic omits critical language that demonstrates that Apple’s positions in both courts are
18   fully consistent. Apple seeks Rule 60(b)(5) relief because (1) federal courts must follow state court
19   interpretations of state law, and Beverage clarified that the Epic decisions did not fully analyze Chavez
20   or Colgate; and (2) the judgments conflict in cases involving the same defendant, facts, and state statute.
21   Apple took the same positions in Beverage: Apple told the California Supreme Court that “federal
22   opinions are not controlling authority in interpreting state law.” Beverage Opp. 12 (citation omitted).
23   Apple emphasized that “neither of the federal Epic Games decisions engaged in a rigorous analysis of
24

25
     4
       See also Celestine v. Petroleos De Venezuela SA, 108 F. App’x 180, 184 (5th Cir. 2004) (“conflicting
26   judgments”); Blue Diamond Coal Co. v. Trs. of UMWA Combined Ben. Fund, 249 F.3d 519, 525 (6th
     Cir. 2001) (“divergent judgments for litigants involved in the same transaction or injury”); Ritter v.
27   Smith, 811 F.2d 1398, 1402–03 (11th Cir. 1987) (cases “arose out of the same transaction”); cf. In re
     Terrorist Attacks on Sept. 11, 2001, 741 F.3d 353, 358 (2d Cir. 2013) (“disparate treatment of two sets
28   of litigants suing for the same underlying tort”).
     APPLE’S REPLY IN SUPPORT OF MOTION FOR               9                      CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR           Document 1053          Filed 11/21/24     Page 15 of 20




1    the Colgate doctrine and its effect on UCL claims.” Id. (alteration and quotation marks omitted). And

2    Apple never denied that the cases reach opposite outcomes on the same facts and law.

3           Second, Epic misconstrues statements Apple made when responding to a different argument by

4    the Beverage plaintiffs, by taking them out of context. In seeking California Supreme Court review, the

5    Beverage plaintiffs identified a particular legal issue on which they asserted there was a conflict between

6    the California Court of Appeal and the Ninth Circuit: whether conduct that “is not ‘unlawful’ under

7    California’s [UCL] is … automatically not ‘unfair.’” Perry Supp. Decl., Ex. 1 (Beverage Petition), at 5.

8    Responding to that argument, Apple (correctly) pointed out that the plaintiffs “[we]re wrong” to assert

9    that Beverage and the Ninth Circuit conflicted on that question. Beverage Opp. 12. The Ninth Circuit

10   held that lawful conduct can potentially still be unfair, and the California Court of Appeal did not

11   disagree. See id. at 5. The Court of Appeal instead “narrow[ly]” held that, so long as Apple’s anti-steering

12   provisions are protected unilateral conduct, they are not “unfair.” See id. at 2, 5–9. And there was no

13   conflict on that narrow point either, because the Ninth Circuit “did not disagree with Chavez, nor did it

14   address the applicability of the Colgate doctrine to the conduct challenged in that case.” Id. at 12.

15          Apple does not take a contrary position here. Apple does not contend that the Ninth Circuit

16   disagreed with Chavez (or that merely following Chavez was a change). Chavez is longstanding law. See

17   Mot. 9. Apple does not deny that, unlike Beverage, the Ninth Circuit “did not address the applicability

18   of the Colgate doctrine” to Apple’s anti-steering rules. Beverage Opp. 12. Indeed, that is the key missing

19   step in the Ninth Circuit’s analysis. And Apple does not deny that Beverage was narrow: Beverage

20   narrowly established that, so long as a “rigorous” analysis establishes that Colgate protects Apple’s anti-

21   steering rules, then Chavez shields Apple from liability. Id. That narrow holding, however, is a

22   significant development because it cuts to the heart of this case—and it results in a conflict between state

23   and federal judgments in cases involving the same defendant, same facts, and same state statute.

24          Third, Epic does not even try to show reliance. Notably, the Beverage plaintiffs fully understood

25   Apple’s position and repeated it to the California Supreme Court: They correctly read Apple as

26   “endors[ing] the [Beverage] Court of Appeal’s criticism of the two federal opinions” and as not disputing
27   the “indisputabl[y]” conflicting outcomes on “virtually identical facts.” Perry Supp. Decl., Ex. 2

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR              10                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
         Case 4:20-cv-05640-YGR         Document 1053          Filed 11/21/24      Page 16 of 20




1    (Beverage Reply), at 12–13. Epic provides no basis to conclude that the California Supreme Court had

2    a completely different understanding. Epic’s invocation of estoppel thus fails for multiple reasons.

3    II.      MURTHY MAKES PROSPECTIVE APPLICATION OF THE NATIONWIDE PORTION
              OF THE INJUNCTION EVEN MORE INEQUITABLE
4
              The nationwide scope makes prospective application of the Injunction even more inequitable—
5
     particularly in light of Murthy. The narrative the Ninth Circuit adopted to sustain Epic’s standing is
6
     insufficient: Murthy clarifies it is a “tall order” to prove Article III standing to enjoin Apple nationwide
7
     based on the conduct of independent developers; “overly broad assertion[s]” that “gloss[] over
8
     complexities in the evidence” are insufficient; “specific causation findings” and “specific facts” instead
9
     are needed to prove each link in the causal chain. 144 S. Ct. at 1987–89 & 1996 n.7.5
10
              Epic cannot satisfy that standard. Notably, Epic fails to identify a single “specific causation
11
     finding[]” by this Court or “specific fact[]” about the desire of developers to imminently steer users to
12
     the Epic Games Store. None exists. Epic called a few third-party developers to testify during the merits
13
     trial, and none mentioned steering users to the Epic Games Store specifically. The only discussion of
14
     steering came in the context of a developer who sought to send users to its own website to make
15
     purchases. Trial Tr. 359:16–360:6 (Simon). The Ninth Circuit’s conclusion that, but for the anti-steering
16
     provisions, developers would steer users to the Epic Games Store—which does not even distribute iOS
17
     apps (see Rule 52 Order 15)—is therefore speculative and untethered from any specific findings or
18
     record evidence. Instead, it speaks at the “high level of generality” Murthy rejected. 144 S. Ct. at 1987.
19
     The nationwide Injunction thus cannot stand. See, e.g., Horne, 557 U.S. at 472 (remanding with
20
     instruction to narrow an injunction to eliminate statewide relief absent an additional factual showing).
21
              Epic again claims that Rule 60(b)(5) requires a sea change in the law. See Opp. 18–21. But as
22
     detailed above, see supra Section I, that is incorrect; “clarification” is sufficient. Harris, 531 F.3d at 513.
23
     Murthy surely clarified application of standing law—the Supreme Court does not grant review merely
24
     to correct case-specific errors. See Sup. Ct. R. 10. Specifically, Murthy clarified the evidentiary showing
25

26
27   5
      Epic accuses Apple of “wrench[ing]” the “tall order” comment from its context. Opp. 20. Not so—the
     context in which the Supreme Court made this point was “[t]he one-step-removed, anticipatory nature
28   of [the plaintiffs’] alleged injuries.” Murthy, 603 U.S. at 57. That is the same context here.
     APPLE’S REPLY IN SUPPORT OF MOTION FOR               11                      CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR           Document 1053           Filed 11/21/24     Page 17 of 20




1    needed for a prospective injunction based on the conduct of independent actors. Murthy clearly shows

2    that the Ninth Circuit’s analysis was “overly broad” and at too “high [a] level [of] generality.” 144 S. Ct.

3    at 1987. The required fact-specific analysis confirms that Epic lacks nationwide standing.

4           Epic contends it proved that “iOS consumers … are likely reacting in predictable ways to Apple’s

5    anti-steering rules.” Opp. 21 (quotation marks omitted). But before consumers can react, developers

6    must react—Apple’s anti-steering rules applied to developers, not users. Developers cannot simply

7    “switch to Epic’s cheaper payment platform to process their in-app transactions,” id., because the Epic

8    Games Store does not even distribute iOS apps—it distributes games “on PC and Mac computers,” Rule

9    52 Order 15–16. And even when the Epic Games Store distributes games on other platforms, it is not a

10   separate marketplace for directly purchasing in-game content (e.g., digital tokens, extra lives, etc.). There

11   is thus nothing on the Epic Games Store itself for a developer to “steer” users to. The Ninth Circuit

12   overlooked this aspect of the Epic Games Store—“gloss[ing] over complexities in the evidence,” 144

13   S. Ct. at 1987, and showing why Murthy warned against appellate courts creating theories of standing.

14          Critically, there are no findings or record evidence that a developer would imminently steer users

15   away from its app and its website to a cross-platform game on PC or Mac, installed via the Epic Games

16   Store, to purchase in-game content. And even if a developer engaged in such steering, Epic does not

17   require developers to use its payment system (Epic Payment Solution) and pay a commission, Trial Tr.

18   800:4–14 (Ko), 1221:18–1222:1 (Allison), so Epic may still obtain no commission. Nor is there record

19   evidence that Epic Payment Solution is cheaper than a developer’s own website, or that developers would

20   pass along any savings to consumers. And unless a developer offers a cross-platform game and steers to

21   a PC or Mac game installed via the Epic Games Store and the developer uses Epic Payment

22   Solution and reduces prices and those prices are lower than alternatives like the developer’s own

23   website, consumers would not predictably use Epic’s platform and pay Epic a commission. As in Murthy,

24   Epic’s standing thus depends on a “speculative chain of possibilities” that depends on multiple decisions

25   by independent developers with their own motives and interests. 144 S. Ct. 1993. Epic’s resort to the

26   “commonsense proposition” (Opp. 22) that consumers react to lower prices is thus far from sufficient.
27          Epic asserts that the Ninth Circuit “found causation” and “found” that users who learned about

28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR               12                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR           Document 1053         Filed 11/21/24     Page 18 of 20




1    “lower app prices” would switch to other platforms, arguing that “the Ninth Circuit’s findings” were

2    “[]sufficiently specific.” Opp. 22. This nomenclature is telling. “Appellate court[s]” are “not in the

3    business of making findings of fact.” Forest Grove Sch. Dist. v. T.A., 638 F.3d 1234, 1238 (9th Cir.

4    2011). Murthy requires appellate courts to identify causation findings “in the record”—that is, made in

5    the district court—to prevent appellate judges from “hunting for truffles buried [in the record].” 144

6    S. Ct. at 1987, 1997 n.7 (brackets in original). The Ninth Circuit’s analysis is not based on findings “in

7    the record,” as confirmed by Epic’s response (which cites no such findings). In any event, the Ninth

8    Circuit’s statements are overly general and insufficiently specific because they do not bridge multiple

9    fatal gaps in the causal chain. The Ninth Circuit’s statements thus do not and could not satisfy Murthy.

10          Epic’s rhetoric about the implications for consumer antitrust cases gets it exactly backward. See

11   Opp. 22. No consumer can obtain nationwide injunctive relief without certifying a nationwide class. See

12   Fed. R. Civ. P. 23. Epic does not represent a class; it comes to this Court only on its own behalf. See

13   Rule 52 Order at 23–24. Rule 23 sets out stringent requirements for class certification because binding

14   non-parties—and binding a defendant’s conduct towards non-parties—raises serious due process

15   problems. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360–61 (2011). The nationwide Injunction

16   improperly circumvents those protections by granting Epic nationwide relief (that is, relief running in

17   favor of all developers with apps on the U.S. app store) that it does not have standing to seek.

18   III.   THE EQUITIES WEIGH HEAVILY IN FAVOR OF RELIEF

19          The equities overwhelmingly favor relief. Beverage and Murthy each establish that the Injunction
20   rests on an incomplete legal analysis, and an “exercise of discretion cannot be permitted to stand if … it
21   rests upon a legal principle that can no longer be sustained.” Agostini, 521 U.S. at 238. If Apple were to
22   reinstate the same Guidelines the Beverage courts upheld as consistent with the UCL, Apple would be
23   in violation of the Injunction. Epic does not dispute that a new suit filed today in any court challenging
24   those rules under the UCL would have to follow the Beverage analysis. Yet without that analysis, the
25   Injunction provides thousands of developers the very relief Beverage denied. Epic does not dispute that
26   Apple has rigorously and timely asserted its rights. Maintaining the Injunction thus offends fundamental
27   principles of federalism, comity, and equity.
28
     APPLE’S REPLY IN SUPPORT OF MOTION FOR             13                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
         Case 4:20-cv-05640-YGR         Document 1053          Filed 11/21/24     Page 19 of 20




1             Epic contends that it has “reliance interests,” but that contention rings hollow. Epic does not even

2    have any apps on the App Store and it plainly lacks reliance interests in how non-party developers might

3    behave. Epic emphasizes “the burdens [it] has incurred in obtaining [the Injunction], defending it on

4    appeal and proving Apple’s ongoing non-compliance with it.” Opp. 24. But Epic’s litigation burdens do

5    not give it a reliance interest in a prospective decree. The Injunction itself reserves to this Court

6    “jurisdiction over … amendment of the injunction.” Injunction ¶ 3. And under longstanding equitable

7    principles that Rule 60(b)(5) codifies, a party has no reliance interest in prospective relief that is “no

8    longer equitable”: A plaintiff lacks “a perpetual or vested right either in the remedy, the law governing

9    the order, or the effect of it.” Ladner v. Siegel, 298 Pa. 487, 500 (1930). Courts have inherent “power to

10   revoke or modify its mandate if satisfied that what it has been doing has been turned through changing

11   circumstances into an instrument of wrong.” United States v. Swift Co., 286 U.S. 106, 114–15 (1932).

12   Epic’s litigation burdens accordingly are irrelevant. See Lowry Dev., L.L.C. v. Groves & Assocs. Ins.,

13   Inc., 690 F.3d 382, 389 (5th Cir. 2012) (“Having a favorable judgment set aside is inherently prejudicial,

14   so some extra measure of unfair prejudice must be present to overcome an otherwise worthy Rule 60(b)

15   motion.”); see also Werner v. Carbo, 731 F.2d 204, 207 (4th Cir. 1984) (similar).6

16            Epic’s “unclean hands” argument is also baseless. See Opp. 25. First, Apple has not been found

17   to violate the Injunction, much less held in contempt. Apple removed the enjoined anti-steering rules,

18   notified the Court of its new rules, and the ongoing dispute about compliance is so complex as to require

19   evidentiary hearings and the production of tens of thousands of documents. Second, even contempt

20   would provide no basis to deny relief. Notably, Epic cites no case that relies on past non-compliance to

21   deny relief from a prospective injunction. Courts routinely grant prospective relief after enforcement

22   proceedings and contempt sanctions. E.g., Salazar v. Buono, 559 U.S. 700 (2010) (enforcement); Horne,

23   557 U.S. at 433 (sanctions); Nelson v. Collins, 659 F.2d 420 (4th Cir. 1981) (en banc) (sanctions); Carey,

24   706 F.2d at 971 (both); Pennsylvania v. Wheeling & Belmont Bridge Co., 59 U.S. 421, 436 (1855)

25   (purging sanctions); Flores v. Garland, No. CV 85-4544-DMG, 2024 WL 3467715, at *9 (C.D. Cal.

26
     6
       Epic cites Planned Parenthood Federation of America v. Center for Medical Progress, 704 F. Supp.
27   3d 1027 (N.D. Cal. 2023), but that case denied Rule 60(b)(5) relief because the applicable law did not
     change at all. It did not hold that, even when a development renders a prospective Injunction inequitable,
28   a party’s past litigation burdens nonetheless justify perpetuating that inequity into the future.
     APPLE’S REPLY IN SUPPORT OF MOTION FOR               14                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
      Case 4:20-cv-05640-YGR           Document 1053          Filed 11/21/24    Page 20 of 20




1    June 28, 2024). That is because Epic’s argument is backwards. The purpose of civil contempt is to bring

2    a defendant into compliance with the law, but if an injunction no longer comports with the law, then it

3    must be vacated and the basis for contempt evaporates. See United Mine Workers, 330 U.S. at 295

4    (“[T]he right to remedial relief falls with an injunction which events prove was erroneously issued.”);

5    Wheeling Bridge, 59 U.S. at 432 (“it is quite plain the decree … cannot be enforced”); ePlus Inc. v.

6    Lawson Software, Inc., 789 F.3d 1349, 1357–58 (Fed. Cir. 2015) (similar).

7           Epic relies on Motorola Credit Corp. v. Uzan, 561 F.3d 123 (2d Cir. 2009), but that case is an

8    “instructive contrast.” Thai-Lao Lignite (Thai.) Co. v. Gov’t of Lao People’s Democratic Republic, 864

9    F.3d 172, 188 (2d Cir. 2017). Unlike here, Uzan involved a retrospective judgment (for disgorgement).

10   561 F.3d at 131. Unlike here, contempt had been found (repeatedly): the Uzans “flat-out refus[ed]” to

11   comply, “persistently endeavored to evade the lawful jurisdiction of the District Court,” and were even

12   subject to arrest. Id. And unlike here, the Uzans asked to be excused from compliance because their own

13   non-compliance had prompted the plaintiffs to engage in self-help and obtain partial relief. See id. Apple

14   instead is asking for prospective relief because intervening decisions establish that the Injunction rests

15   on legal errors, the enjoined conduct is lawful, and Epic lacks nationwide standing. Providing such

16   prospective relief is the core purpose of Rule 60(b)(5), not “chutzpah.”

17          Finally, Epic disparages Apple as merely seeking delay. But Epic has not explained how this

18   motion will delay anything. The evidentiary hearing is tentatively scheduled to resume January 13, 2025.

19   This motion is fully briefed, as of November 21, 2024. That leaves ample time for the Court to decide

20   this motion before deciding the motion to enforce. In any event, Epic’s attacks on Apple’s motives are

21   baseless and irrelevant. The only thing Apple seeks here is to vacate or narrow the Injunction because

22   applying it prospectively is no longer equitable.

23                                               CONCLUSION

24          The Court should vacate the Injunction or, at a minimum, narrow it to Epic and its affiliates.

25   Dated: November 21, 2024                             Respectfully submitted,

26                                                        By: /s/ Mark A. Perry
                                                          Mark A. Perry
27                                                        WEIL, GOTSHAL & MANGES LLP

28                                                        Attorney for Apple Inc.
     APPLE’S REPLY IN SUPPORT OF MOTION FOR              15                     CASE NO. 4:20-CV-05640-YGR
     RELIEF FROM JUDGMENT
